Case 2:23-cv-07120-MWF-SK Document 110 Filed 06/10/24 Page 1 of 3 Page ID #:2331




                                                      ON FIRST AMENDED COMPLAINT
                        ATTACHMENT
Case 2:23-cv-07120-MWF-SK              TO SUMMONS
                          Document 110 Filed 06/10/24 Page 2 of 3 Page ID #:2332




     BARRETT S. LITT, SBN 45527                 BRUCE BERNARD BEALKE
 1
     Email: blitt@mbllegal.com                  (pro hac vice)
 2   DAVID S. McLANE, SBN 124952                (Illinois SBN 6200543)
 3
     Email: dmclane@mbllegal.com                77 West Wacker Drive, Ste. 45001
     MARILYN E. BEDNARSKI, SBN 105322           Chicago, IL 60601
 4   Email: mbednarski@mbllegal.com             Tel: (312) 216-7177
 5
     McLANE, BEDNARSKI & LITT, LLP              Fax: (312) 741-1010
     975 East Green Street                      Email: bealkelaw@protonmail.com
 6   Pasadena, California 91106
 7
     Tel: (626) 844-7660
     Fax: (626) 844-7670
 8
 9   STANLEY I. GREENBERG, SBN 53649
     11845 W. Olympic Blvd., Ste. 1000
10   Los Angeles, CA 90064
11   Tel: (424) 248-6600
     Fax: (424) 248-6601
12   Email: Stanmanlaw@aol.com
13
     Attorneys for Plaintiff CHRISTOPHER PSAILA
14

15                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
16

17   CHRISTOPHER PSAILA,                 Case No. 2:23-cv-07120-MWF (SKx)

18                  Plaintiff,           FIRST AMENDED COMPLAINT FOR
           v.                            DAMAGES:
19

20   ERIKA GIRARDI aka ERIKA               (1) BIVENS CLAIM - VIOLATION
     JAYNE, AMERICAN EXPRESS                   OF CONSTITUTIONAL
21   COMPANY, ROBERT SAVAGE,                   RIGHTS, (DEFENDANTS
22   KENNETH HENDERSON, STEVE                  SAVAGE, HENDERSON,
     SCARINCE, PETER GRIMM,                    SCARINCE);
23   LAIA RIBATALLADA, MICHAEL             (2) BIVENS CLAIM – VIOLATION
24   MINDEN, UNITED STATES OF                  OF CONSTITUTIONAL
     AMERICA, and DOES 1 TO 10,                RIGHTS, SUPERVISORIAL
25   Inclusive,                                LIABILITY (DEFENDANTS
26                                             SAVAGE, SCARINCE)
                    Defendants.
27

28
          FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                       1
Case 2:23-cv-07120-MWF-SK Document 110 Filed 06/10/24 Page 3 of 3 Page ID #:2333
